                 UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                    Civil Action No. 1:22-CV-00101


  Wei Jiang, M.D                                )
                                                )
         Plaintiff,                             )
                                                ) PLAINTIFF’S RESPONSE
  v.                                            )   IN OPPOSITION TO
                                                )     DEFENDANTS’
  Duke University, Duke University Health
  System, Moira Rynn, M.D, in her               )  MOTION TO DISMISS
  individual and official capacity, and Mary    )
  E. Klotman, in her individual and official    )
  capacity,                                     )
                                                )
         Defendants.                            )




       NOW COME the undersigned on behalf of the Plaintiff, Wei “Jan” Jiang

(“Dr. Jiang”) responding to Defendants’ motion to dismiss Plaintiff’s Complaint

and show the Court the following:

               STANDARD OF REVIEW OF RULE 12(b)(6)

       Defendants have moved to dismiss Plaintiff’s claims under Title VII, the

ADEA, and §§ 1981, 1985 under Rule 12(b)(6). “A motion to dismiss under

Rule 12(b)(6) ‘challenges the legal sufficiency of a complaint,’” Francis v.

Giacomelli, 588 F.3d 186, 192 (4th Cir. 2009), but “[d]ismissal under Rule


                                      -1-




    Case 1:22-cv-00101-LCB-JEP    Document 9    Filed 05/09/22   Page 1 of 33
12(b)(6) is appropriate only when the complaint “lacks a cognizable legal theory

or sufficient facts to support a cognizable legal theory,” Clark v. Guilford Co.,

NC, No. 1:16CV1087, 2017 WL 4357451, at *2 (M.D.N.C. Sept. 30,

2017)(quoting Capital Associated Indus., Inc. v. Cooper, 129 F. Supp. 3d 281,

300 (M.D.N.C. 2015). Plaintiffs do not need to forecast sufficient evidence to

prove each claim or even show that the right to relief is probable but must only

“allege sufficient facts to establish” the elements of its claims. Ashcroft v. Iqbal,

556 U.S. 662, 678, 129 S. Ct. 1937, 173 L.Ed.2d 868 (2009); Bell Atlantic Corp.

v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955, 167 L.Ed.2d 929 (2007)).

      Employment discrimination complaints must meet the plausibility

standard; however, the plaintiff is not required to make out a prima facie case

of discrimination or satisfy any heightened pleading requirements at the

motion to dismiss stage. Swierkiewicz v. Sorema N.A., 534 U.S. 506, 511, 122

S.Ct. 992, 152 L.Ed.2d 1 (2002); McCleary-Evans v. Md. Dep't of Transp., 780

F.3d 582, 584–85 (4th Cir. 2015). The Fourth Circuit has recently warned

against too stringent treatment of discrimination claims due to “information-

asymmetry, prediscovery.” Woods v. City of Greensboro, 855 F.3d 639, 652 (4th

Cir.), cert denied, 138 S. Ct. 558 (2017).




                                         -2-




    Case 1:22-cv-00101-LCB-JEP      Document 9     Filed 05/09/22   Page 2 of 33
      The documents referred to in Plaintiff’s Complaint and those

Defendants’ have attached to their Memorandum in Support of their Motion to

Dismiss can be considered by the Court but should not be credited as true. See

Goines v. Valley Cmty. Servs. Bd., 822 F.3d 159, 167 (4th Cir. 2016 (citing N.

Ind. Gun & Outdoor Shows, Inc. v. City of S. Bend, 163 F.3d 449, 455 (7th

Cir.1998)). “The purpose for which the document is offered is particularly

important where the document is one prepared by or for the defendant . . .

[because] [s]uch unilateral documents may reflect the defendant’s version of

contested events or contain self-serving, exculpatory statements that are

unlikely to have been adopted by the plaintiff.” Id. at 168. Plaintiff has not

adopted and indeed contests the statements in these documents because they

were self-serving examples of the discriminatory treatment of Plaintiff.

      Defendants’ statement that “Dr. Jiang has alleged no facts,” (DE6) to

support her allegations of discrimination is untrue. In fact, Plaintiff’s

Complaint contains dozens of factual allegations all of which raise more than

a speculative inference of discrimination, and all of which make it not just

plausible,   but   probable,   that    Defendant    Rynn    magnified     miniscule




                                         -3-




    Case 1:22-cv-00101-LCB-JEP        Document 9   Filed 05/09/22   Page 3 of 33
documentation issues in the REMIT study and then when those were

corrected, she urged a misinterpretation of the science behind it because of her

discriminatory animus towards Plaintiff, which conduct was ratified by

Defendants.

               STATEMENT OF FACTS TAKEN AS TRUE

      Dr. Jiang is a Professor of Psychiatry and Behavioral Sciences at Duke

and conducts research at Duke University Medical Center. DE1 ¶¶ 14-17. Dr.

Jiang has been employed by Duke since 1989 and became a tenured Full

Professor in 2014. DE1 ¶¶14-15. Between 2006 to 2011, Dr. Jiang served as

the “Principal Investigator” for a federally funded research study, “Responses

of Myocardial Ischemia to Escitalopram Treatment” (the “REMIT Study”),

which investigated the effects of certain anti-depressant and anti-anxiety

medication on a certain type of heart condition. DE1 ¶¶18-19.

      The REMIT study was active between September 2006 and 2011. DE1

¶18. Dr. Jiang and her co-investigators authored papers based on the research

done in the study that were published in prestigious medical journals,

including the Journal of the American Medical Association (JAMA). DE1

¶¶23-25. Dr. Jiang also applied for additional grants which the NIH approved




                                      -4-




    Case 1:22-cv-00101-LCB-JEP    Document 9    Filed 05/09/22   Page 4 of 33
in 2018, but which Defendant Rynn later cancelled. DE1 ¶¶53, 64.

           Six years after the conclusion of the REMIT study, in July 2017,

Defendant Rynn became chair of the Department. DE1 ¶8. Rynn was neither

an accomplished researcher 1 nor a tenured professor. DE1 ¶37. Defendant

Klotman, who ratified Defendant Rynn’s actions, became Dean of the Medical

School at the same time. DE1 ¶9. When Defendant Rynn became department

head, Plaintiff’s annual salary was approximately $200,484. DE1 ¶28.

           Beginning in 2004, and until Defendant Rynn refused to allow her to do

so in 2019 , DE1 ¶¶93, 95, as part of her outreach activities as a faculty member

in the Duke Psychiatry Department, Dr. Jiang made annual and sometime

biannual trips to China to collaborate with colleagues, provide mental health

outreach, and attend and present at conferences. Dr. Jiang also visited family

on these trips. DE1 ¶16.

           In 2018, seven years after the close of the REMIT study, Plaintiff

undertook her usual trip to China. DE1 ¶38.                               During that time , Dr. Rynn

called a meeting with Pamela Bonner, Dr. Jiang’s research coordinator. DE1

¶61. Dr. Rynn grilled Bonner about the work done in Dr. Jiang’s lab and the



1
    See Exhibit 1 to Plaintiff’s Response to Defendants’ Motion to Dismiss (DE9-1).


                                                         -5-




        Case 1:22-cv-00101-LCB-JEP                 Document 9          Filed 05/09/22   Page 5 of 33
work on the REMIT study. DE1 ¶61. Bonner told Defendant Rynn that she

had no problems with the conduct of research in Dr. Jiang’s lab. DE1 ¶61. 2

Bonner further told Rynn that Dr. Jiang’s lab followed all the known rules,

that lab best practices and guidelines were evolving, that the lab’s data

integrity and the data itself could be trusted, that Dr. Jiang had a great deal

of personal integrity, and that the only issues Bonner was aware of were

documentation issues, resulting from a lack of a trained and experienced

clinical research coordinator. Bonner recommended that for Dr. Jiang’s new

study that she be given a trained and experienced clinical research coordinator.

DE1 ¶¶61-62.

       On April 18, 2018, while Dr. Jiang was out of the county, Defendant

Rynn instigated a review of the closed file for the REMIT study. DE1 ¶30. Dr.

Rynn also reduced Dr. Jiang’s salary which had been $200,484, effective July

1, 2017, (DE1 ¶28) to $152,630, effective July 1, 2018, (DE1 ¶28).

       Upon Plaintiff’s return on April 25, 2018, Plaintiff learned of the audit



2
 Defendants’ have the temerity to state that the “investigations were prompted by concerns expressed
by the Clinical Research Coordinator (“CRC”) for the REMIT Study, who requested a meeting with Dr.
Rynn to express her concerns about the integrity of Dr. Jiang’s research.” (Id. ¶¶ 39-46.)” DE6 p3. In
fact, Plaintiff’s Complaint alleges that Dr. Rynn lied when she said that Pamela Bonner “requested a
meeting with Dr. Rynn to express her concerns about the integrity of Dr. Jiang’s research.”




                                                 -6-




     Case 1:22-cv-00101-LCB-JEP             Document 9       Filed 05/09/22      Page 6 of 33
of the REMIT study and sought information from Jeannie Beckham about the

reason for the audit. DE1 ¶41. Beckham, who worked for Rynn, told Dr. Jiang

that Bonner had made a complaint to Rynn alleging that Dr. Jiang did not

know how to manage a laboratory. DE1 ¶42. Dr. Jiang expressed that she

wanted to follow up with Bonner, but Beckham instructed her not to do so,

because discussing the matter with Bonner could be seen as retaliation. DE1

¶42. On April 30, 2018, Rynn requested a meeting with Dr. Jiang and

suggested to her that the audit would be a good way for Dr. Jiang to improve

her research. DE1 ¶43.

      The Complaint details the multitude of audits and reviews (DE1 ¶¶45 –

52, 56-59, 66-82) that then followed from the initial clinical research report

conducted by the department’s CRU, then headed by Defendant Rynn (DE1

¶54). Defendants’ have submitted redacted versions of a selection of some of

these reports as exhibits to their memorandum, but not others. These reviews

included both a first (DE1 ¶¶50-51) psychiatry CRU review (concluded on May

3, 2018) (not attached as an Exhibit by Defendants), and a second (DE1 ¶¶67-

82) departmental CRU review (report dated January 18, 2019) (also not

attached as an Exhibit by Defendants), both of which were overseen by Dr.




                                     -7-




    Case 1:22-cv-00101-LCB-JEP   Document 9    Filed 05/09/22   Page 7 of 33
Rynn or someone directly supervised by her (attached to this Plaintiff’s

Response to Defendant’s Motion to Dismiss (hereafter Ps Resp to MTD),

Exhibit (hereafter Exh) 1 and Exh 3) (DE9-1 and DE9-3).

       In the first CRU report (DE9-1) 3 issued on May 3, 2018, this sentence

was included at the end:

       Due to the various issues observed during the QA review that may
       affect data integrity, subject safety and the concern for proper PI
       oversight it is my recommendation that the study be escalated to
       Duke’s Office of Audit, Risk, and Compliance (OARC). This has
       been discussed with Dr. Jan Jiang (PI) along with Dr. Moira Rynn
       (Department of Psychiatry Chair).

Dr. Jiang had not discussed the issue of escalation with the author of the

report, however, Dr. Rynn had discussed the general concept of review of the

REMIT study with Dr. Jiang on April 30, 2018 (DE1 ¶¶43, 51).

       Dr. Rynn used the first CRU report to escalate the review of the REMIT

study to the university Office of Audit, Risk, and Compliance (OARC), falsely

representing to the OARC that Dr. Jiang had requested OARC review. DE1

¶51; DE6-2 (“At the request of [Moira Rynn] [redacted], M.D. and Wei Jiang,


33
  Of significance is the fact that Plaintiff had expressed an interest in the Vice-Chair for Research
position previously, DE1 ¶38, and later learned that Rynn had decided not to fill the Vice Chair
position, and because of a vacancy in the position of Clinical Research Unit (CRU) Director, Dr.
Rynn appointed herself the interim CRU director with no vice-chair, DE1 ¶54. It was as a result of
these positions that Rynn was able to accomplish her efforts to discredit Plaintiff with no oversight.




                                                  -8-




     Case 1:22-cv-00101-LCB-JEP             Document 9        Filed 05/09/22      Page 8 of 33
M.D., the [OARC] . . . “assessed compliance with Good Clinical Practice (GCP),

applicable U.S. Food and Drug Administration (FDA) regulatory requirements,

and institutional policies. . . .”)

      The OARC initiated its review on June 4 with visits to various locations

where REMIT records were kept and reviewed specific study records for 17 of

the 310 subjects. DE1 ¶52; DE6-2, p3. The OARC report (DE 6-3) dated

September 12, 2018, concluded that there were no patient safety concerns. (DE

6-3, p2) The study noted only “conflicting information and gaps in

documentation” which made it difficult to determine if there was protocol

adherence Id.      Significantly, with regard to the exclusion/inclusion criteria,

the OARC report noted Dr. Jiang’s explanation that “the grant proposal was

initially drafted in 2002 when anti-anginal or anti-ischemic medications could

be considered just for Beta blockers.” Id. p 5. The report also noted that

“[e]very reviewed subject in this trial did not wash out from all anti-anginal

medications they were taking,” and that “only beta-blockers were withheld

from reviewed subjects during the assessment period.” Id. The report admitted

that Dr. Jiang and her cardiologist co-investigators explained that they

modified the inclusion/exclusion criteria in the original protocol for safety




                                         -9-




    Case 1:22-cv-00101-LCB-JEP        Document 9   Filed 05/09/22   Page 9 of 33
issues when it became apparent to the investigators “’no physicians would be

willing to hold all medications currently considered anti-ischemic medications’

because it would be potentially unsafe for patients.” Id. p6. In addition, the

protocol also eliminated the exercise stress testing for some patients. As for

deviations from the original 2002 protocol, the OARC report “recommended

that eligibility criteria be written and amended in a precise way to accurately

capture wash out requirements.” Id.

      As detailed in the October 18, 2018 Response of Dr. Jiang and the study

team (P’s Response to MTD Exhibit 2) (DE9-2)) created with the assistance of

Dr. Steve Boyle, the team addressed all noted gaps in documentation and

information, rectified all documentation issues or provided a schedule for doing

so, clarified that the protocol exclusion and inclusion criteria had been modified

during the study, and directly addressed each element of the OARC findings.

(P’s Response to MTD Exhibit 2) (DE9-2) including the exclusion criteria

related to anti-anginal mediations. Ps Resp to MTD Exh 2, p3 (DE 7-2 p3). As

to the amendment of the protocol to eliminate exercise stress testing, this was

also due to safety concerns. Id. In addition, Plaintiff’s response to the OARC

report noted that “[n]ot having exercise stress testing had no impact on the




                                       -10-




   Case 1:22-cv-00101-LCB-JEP     Document 9     Filed 05/09/22   Page 10 of 33
data integrity of the REMIT study’s primary goal to evaluate the effects of

escitalopram versus placebo on MSIMI. Plaintiff’s response also noted:

“Withholding beta blockers . . . had little or no effects on mental stress testing

responses which are well known not to be characterized by large increases in

heart rate. As mentioned, completion of exercise testing was not the primary

focus of the study. Thus, we believe that including patients who did not

withhold their beta blocker medications had no impact on the primary study

goal and did not impact the REMIT data integrity.” Id.

      The OARC report was submitted to the Defendant’s Institutional Review

Board (IRB) on November 26, 2018, and the IRB reviewed the report on

December 19, 2018, and determined that the “safety event” detailed in the

report did “not represent an Unanticipated Problem Involving Risk to Subjects

or Others (UPIRTSO).” DE6-3, p2. The IRB “concurred with the OARC

recommendations and they should be implemented.” Id. The IRB also

concluded that additional information needed to be provided to resolve any

outstanding questions regarding “data integrity.” Id. pp2-3. Specifically, the

IRB stated that the “PI and Investigators, with the support of the CRU and

School of Medicine, should seek independent expert opinion on these issues




                                       -11-




   Case 1:22-cv-00101-LCB-JEP     Document 9     Filed 05/09/22   Page 11 of 33
and report back to the Board with their conclusions.” Id.

       On December 22, 2018, the second CRU report was issued. P’s Resp to

MTD Exh 3 (DE9-3). This report, which was supposed to consider the eligibility

criteria for the REMIT study participants also stated that it compared

“collected data to the IRB approved protocol and informed consent form (ICF).”

DE9-3. Even though the Response provided by the study team to the OARC

detailed the changes to the original inclusion/exclusion protocol, the second

CRU report ignored the changes to the protocol.

       In response, only two days after the study team received the report, 4 the

team responded again explaining the inclusion of the participants in both

Table 2 and Table 5 and provided explanations for why each subject was

properly included, and not excluded, from the REMIT study. P’s Resp to MTD

Exh 4 (DE9-4). The explanations provided by Dr. Jiang and the study team for

the eligibility of all participants demonstrated the subjects’ eligibility and

inclusion.5

       Plaintiff’s Complaint details the facts relevant to her allegations of

4
 The report was actually dated December 22, 2018, but not provided to the team until January 7,
2019.

5 These same reasons were echoed by her co-investigators in a letter to JAMA dated January 22,

2021. DE9-10


                                               -12-




    Case 1:22-cv-00101-LCB-JEP           Document 9        Filed 05/09/22     Page 12 of 33
discrimination and how the audits themselves were instigated based on

falsehoods perpetrated by Defendant Rynn and then pursued based on

misinformation related to the inclusion/exclusion criteria. In summary, Dr.

Rynn lied to Dr. Jiang about the reasons for the first CRU review, telling her

that Bonner had complained about Dr. Jiang’s research practices, which

Bonner denied. DE1 ¶¶41-42, 61-62. Dr. Rynn then pretended to have Dr.

Jiang’s best interests at heart on April 30, 2018, when she urged Dr. Jiang to

not object to the OARC review. DE1 ¶43. Dr. Rynn then falsely represented

to the OARC that Dr. Jiang had requested OARC review. DE6-2. Moreover,

after the OARC review, the second CRU review intentionally misconstrued the

eligibility criteria for participation in the REMIT study and ignored the fact

that the original protocol had been revised to allow individuals in multiple

categories to participate in the study. DE1 ¶¶ 69-75.

      After Dr. Jiang and the study team successfully defended the inclusion

of the participants in the study, the IRB reviewed the audits done to date and

instructed the “PI and Investigators, with the support of the CRU and School

of Medicine, [to] seek independent expert opinion on these issues and report

back to the Board with their conclusions.” DE6-3. Despite this instruction,




                                     -13-




   Case 1:22-cv-00101-LCB-JEP    Document 9    Filed 05/09/22   Page 13 of 33
Defendant Rynn, without explanation, forbade Plaintiff from obtaining an

“independent expert opinion” on the data integrity issues. DE1 ¶¶ 77, 79-80.

On January 23, 2019, Defendant Rynn unilaterally terminated the grant that

Plaintiff had received from the NHLBI/NIH in the Fall of 2018. DE1 ¶¶83 –

92. On March 6, 2019, Defendants formally relinquished the funds associated

with the grant Plaintiff had been awarded. DE1 ¶103.

     Defendant Rynn then cancelled Dr. Jiang’s outreach trip to China

scheduled for April 2019.    DE1 ¶¶ 93-95. Dr. Jiang asked the Faculty

Ombudsman to accompany her to a meeting with Dr. Rynn and he witnessed

first-hand the hostility with which Defendant Rynn treated Plaintiff. DE1

¶¶96-99.

     Plaintiff learned on March 11, 2019. DE1 ¶102 that Defendant Rynn had

also made or caused to be made an allegation of research misconduct against

Dr. Jiang to U.S. Department of Health and Human Services (US DHHS)

Office of Research Integrity (ORI). DE1 ¶101. The ORI requested Defendants

“conduct an inquiry into allegations of possible falsification of the REMIT

clinical research records. The purpose of the inquiry would be to determine if

there was evidence of potential research misconduct that would warrant an




                                     -14-




   Case 1:22-cv-00101-LCB-JEP    Document 9   Filed 05/09/22   Page 14 of 33
investigation.” DE1 ¶102. The Defendants’ Standing Committee on Misconduct

in Research (SCMR) was assigned the investigation. Id. This investigation was

concluded and a report issued October 22, 2019, and it concluded that there

had been no research misconduct. DE1 ¶¶ 104-05. Nonetheless, as Plaintiff’s

Complaint alleges, the SCMR exceeded its charge to investigate whether

research misconduct occurred and made allegations of protocol deviations, the

same ones that Dr. Jiang and her study team had previously debunked. DE9-

2 (Response to OARC Report) and DE9-4 (Response to 2d CRU report).

Moreover, the SCMR initiated a statistical re-analysis of the data supporting

the 2013 JAMA article and a re-evaluation of the echocardiograms from the

REMIT study. DE1 ¶119-23.

        Facts related to other discriminatory actions by Defendant Rynn alleged

in Plaintiff’s Complaint include that in July and again in October 2019, Rynn

refused to provide Plaintiff a letter of support for positions to which Plaintiff

sought transfer.      DE1 ¶¶107-14;DE1 ¶¶115. When Dr. Jiang sought

clarification from Defendant Rynn about her actions Rynn informed Jiang that

she would not be allowed to undertake any further research activities. DE1

¶117.




                                      -15-




   Case 1:22-cv-00101-LCB-JEP     Document 9    Filed 05/09/22   Page 15 of 33
      In September 2019, Plaintiff sought a meeting with the IRB to address

her concerns that she and her co-investigators were not being permitted to

obtain independent expert evaluations of the REMIT study data, as the IRB

directed in December 2018, DE1 ¶¶123-28, DE6-3. In October 2019, Dr. Jiang

expressed her concerns about the re-evaluations of the data by the SCRM and

the lack of independence of those re-evaluations. DE1 ¶¶129-33. On October

22, 2019, the SCRM released its report and again, exceeding its charge, made

multiple recommendations even though it concluded that there was no

research misconduct. DE1 ¶¶134-35.

     On November 20, 2019, Dean Klotman issued a determination which

included   the   recommendation     of   the   SCRM,    DE1     ¶135,   making

recommendations which governed Plaintiff’s future research. DE1 ¶¶140, 143;

DE9-5. On January 29, 2020, Defendant Rynn then took additional adverse

actions against Plaintiff which effectively ended Plaintiff’s research career.

DE1 ¶¶143-44; DE9-6.

      Plaintiff appealed to Dean Klotman who on May 29, 2020, ratified

Defendant Rynn’s decision. DE1 ¶¶148.

      Finally, and completely ignored by Defendants’ are Plaintiff’s allegations




                                      -16-




   Case 1:22-cv-00101-LCB-JEP    Document 9    Filed 05/09/22   Page 16 of 33
in her Complaint, DE1 ¶150-51, regarding Plaintiff’s trips to China.             In

December 2018, and again in February, 2019, Defendant Rynn and other

Defendants made inquiries to Plaintiff regarding her trips/travels to China

insinuating they were improper. These allegations are specifically connected

to Plaintiff’s race and national origin, and demonstrate that the Defendants

were very cognizant of Plaintiff’s race and national origin. Moreover, the fact

that Defendants have not proffered any individuals who are male, younger,

and non-Asian who have undergone the same kind of research scrutiny as

Plaintiff speaks volumes about Defendants’ inability to show that any other

individuals, similarly situated to Plaintiff, were treated in a similar fashion.

                                    ARGUMENT

      I.     Plaintiff’s allegations of discrimination are sufficient to
             survive Defendants’ Rule 12(b)(6) motion to dismiss.

      Defendants’ make three arguments as to why Plaintiff’s intentional

discrimination claims fail: first, that she makes conclusory allegations of

discrimination; second, that she makes conclusory allegations of a hostile work

environment; and third, that Defendants Klotman and Rynn have no

individual liability.

      “A motion to dismiss pursuant to Rule 12(b)(6) must be read in


                                       -17-




   Case 1:22-cv-00101-LCB-JEP     Document 9    Filed 05/09/22   Page 17 of 33
conjunction with Federal Rule of Civil Procedure 8(a)(2).” Hilderbrand v.

Pelham Transportation Corp., No. 1:20CV1020, 2021 WL 2681966, at *3

(M.D.N.C. June 30, 2021).       Rule 8(a)(2) requires only “a short and plain

statement of the claim showing that the pleader is entitled to relief,” so as to

“give the defendant fair notice of what the ... claim is and the grounds upon

which it rests . . . .” Twombly, 550 U.S. at 555. Plaintiff has unquestionably

provided a statement of her claims sufficient to let Defendants know that her

claims rest upon the actions taken by Defendant Rynn and ratified by the other

Defendants which resulted in numerous adverse actions against Plaintiff and

that these actions involve intentional discrimination and the creation of a

hostile work environment violation of Title VII, the ADEA, and Section 1981.

Plaintiff has provided Defendants “[f]air notice . . . by setting forth enough facts

for the complaint to be ‘plausible on its face’ and “raise a right to relief above

the speculative level on the assumption that all the allegations in the

complaint are true (even if doubtful in fact) . . . .’” Id. (quoting Twombly, 550

U.S. at 555).

      Defendants’ deny that the audits concerning the REMIT study were

motivated by discriminatory intent, but, “Rule 12(b)(6) does not countenance .




                                        -18-




   Case 1:22-cv-00101-LCB-JEP      Document 9     Filed 05/09/22   Page 18 of 33
. . dismissals based on a judge's [or a defendant’s] disbelief of a complaint's

factual allegations.” Twombly, 550 U.S. at 556 (quoting Scheuer v. Rhodes, 416,

U.S. 232, 236 (1974)). Plaintiff “is entitled to show that [Defendants’] proffered

reason was not the true reason” for its adverse action. See Sonnichsen v. Sears,

Roebuck & Co., 105 F.3d 648 (4th Cir. 1997).

      “In order to show pretext, a plaintiff may show that an employer's

proffered nondiscriminatory reasons for the [ adverse action] are inconsistent

over time, false, or based on mistakes of fact.” Haynes v. Waste Connections,

Inc., 922 F.3d 219, 225 (4th Cir. 2019) (citing E.E.O.C. v. Sears Roebuck & Co.,

243 F.3d 846, 852–53 (4th Cir. 2001)). Plaintiff has alleged facts sufficient to

show that the Defendants’ reasons for the adverse actions taken against her

changed over time, from initial criticisms of the documentation in the REMIT

study , to later criticisms of the inclusion of certain study subjects. Id. (“This

Court has allowed an inference of pretext in cases where an employer has made

substantial changes to its proffered reason for discharge over time.”) (citing

EEOC v. Sears Roebuck & Co. and Wesley v. Arlington Cnty., 354 F. App'x 775,

782 (4th Cir. 2009)).

      Plaintiff has also alleged that the factual basis for the adverse actions




                                       -19-




   Case 1:22-cv-00101-LCB-JEP     Document 9     Filed 05/09/22   Page 19 of 33
taken against her were false and based on misapprehensions of the applicable

scientific principles. “Once the plaintiff offers such circumstantial evidence,

the case must be decided by a trier of fact and cannot be resolved on summary

judgment.” Id. At this stage, Plaintiff’s factual allegations that Defendant lied

about the initial reason for its scrutiny of Plaintiff’s study and the adverse

actions which resulted from such scrutiny, and, that the scrutiny and adverse

actions were motivated by her race, national origin, age, and race are sufficient

to overcome Defendants’ motion to dismiss.

      A. Plaintiff’s allegations that she was treated differently from other
         individuals supervised by Defendants are sufficiently specific to meet
         her pleading burden under Rule 8(a)(2) and Rule 12(b)(6).

      Plaintiff’s complaint implicitly and explicitly alleges that no other non-

Asian, male, or younger researchers have had their concluded research activity

so scrutinized for errors especially many years after the fact.          Indeed,

Defendants have provided no examples of how such scrutiny is commonplace

and the evidence, at this stage, is all within Defendants’ knowledge. Plaintiff’s

own knowledge of how others in her department have (and have not) been

treated by Rynn provides a sufficient factual basis to support her allegations

that she was treated differently from her counterparts. The mere fact that




                                      -20-




   Case 1:22-cv-00101-LCB-JEP     Document 9    Filed 05/09/22   Page 20 of 33
Defendant Rynn lied about the impetus for initiating the scrutiny of Plaintiff’s

research, is sufficient factual evidence to support Plaintiff’s allegations that

she was treated differently because of her race, national origin, age, or sex.

      In Mc McLeary-Evans v. Md. DOT, 780 F.3d 582, 585-86 (4th Cir. 2015),

the plaintiff’s complaint, alleged that she was denied promotion based on her

race, [but] contained no allegations about the individuals hired to fill the

position. Plaintiff only alleged that she was not selected for promotion by

individuals of a different race and that the department in which she worked

had a history of hiring White males and females.

      In this case, Plaintiff has alleged that prior to Defendant Rynn’s

becoming department head, her salary each year was increasing and since her

advent, Plaintiff’s salary has decreased precipitously.          DE1 ¶¶27-32.     .

Defendant Rynn lied about Bonner’s complaints in order to justify an audit of

the REMIT study, the outcome of which Defendant Rynn controlled, which

found documentation deficiencies. DE1 ¶¶39-34. Plaintiff alleges that these

actions were discriminatory and that she was treated differently than other

individuals similarly situated to her. DE1 ¶44 Defendant Rynn then escalated

the audit for additional reviews, which were also based on false allegations,




                                      -21-




   Case 1:22-cv-00101-LCB-JEP     Document 9    Filed 05/09/22    Page 21 of 33
to-wit, that Plaintiff sought additional review and that the deficiencies were

significant DE1 ¶¶45-63. These allegations are far more substantial than the

allegations in McCleary-Evans and are not “conclusory.” See also Sanzi v. XPO

Logistics, Inc., No. 1:21CV33, 2022 WL 613380, at *2 (M.D.N.C. Mar. 2, 2022)

(holding that plaintiff “alleged facts sufficient to show that he was treated

differently than similarly situated employees outside of his protected class”

when he alleged that he was excluded from emails and meetings, that he

received smaller and less lucrative accounts, and that he was paid less than

other comparable, non-Brazilian, U.S. Born team members).

      B. Plaintiff’s allegations regarding the factual specifics of her hostile
         work environment are sufficient under Rule 8(a)(2) and 12(b)(6).

      The facts needed to allege a hostile work environment under Title VII,

Section 1981, or the ADEA are the same. Bass v. E.I. DuPont de Nemours &

Co., 324 F.3d 761, 765 (4th Cir. 2003); see also Pryor v. United Air Lines, Inc.,

791 F.3d 488, 495 (4th Cir. 2015) (“The elements an employee must prove are

the same under either [Title VII or Section 1981].”) Employers are generally

presumed to be liable for hostile work environment harassment committed by

supervisory employees. White v. BFI Waste Servs., LLC, 375 F.3d 288, 299 (4th

Cir. 2004) (citing Burlington Indus., Inc. v. Ellerth, 524 U.S. 742, 764, 118 S.Ct.


                                       -22-




   Case 1:22-cv-00101-LCB-JEP      Document 9    Filed 05/09/22   Page 22 of 33
2257, 141 L.Ed.2d 633 (1998)).     In White, the Fourth Circuit denied the

employer’s attempt to use its distribution of an anti-harassment policy as an

affirmative defense because 1) plaintiffs were able to show “tangible

employment actions” and 2) issues of material fact existed as to whether the

policy was effectively enforced and whether the employer took reasonable care

to prevent and promptly correct harassing behavior. Id. at 299-300.

      In Plaintiff’s complaint, she alleges that after Defendant Rynn

threatened to terminate her latest NIH grant, Tom Metzloff, faculty

ombudsman agreed to meet with her and Defendant Rynn and he witnessed

Defendant Rynn’s hostility towards Plaintiff. DE1 ¶¶93-99. This encounter

should have been enough to put Defendants on notice of both the hostile work

environment to which Plaintiff was being subjected as well as their duty to

protect Plaintiff from the obviously hostile treatment by Defendant Rynn.

Defendants’ failure to take any action to do so makes out a prima facie case of

hostile work environment.

      As Justice O’Conner noted in Harris v. Forklift Systems, 510 U.S. 17

(1993), “Title VII comes into play before the harassing conduct leads to a

nervous breakdown. A discriminatorily abusive work environment, even one




                                     -23-




   Case 1:22-cv-00101-LCB-JEP    Document 9    Filed 05/09/22   Page 23 of 33
that does not seriously affect employees' psychological well-being, can and

often will detract from employees' job performance, discourage employees from

remaining on the job, or keep them from advancing in their careers.” Id. at 22.

Further, she noted that “[t]he appalling conduct alleged in Meritor . . . merely

present some especially egregious examples of harassment. They do not mark

the boundary of what is actionable.” Id.

      Plaintiff’s factual allegations of a hostile work environment are far from

“conclusory:” the facts alleged include the initiation of the attack on her

research by Defendant Rynn, Rynn’s continued pursuit of these attacks, her

relentless and dogged attack on Plaintiff’s trips to China, along with her

refusal to provide any references on behalf of Plaintiff for different positions

within Duke, her serious salary cut , her efforts to have JAMA retract the

REMIT study articles. These macro- and micro-aggressions should compel this

Court, at least on this motion to dismiss, to note the “constellation of

surrounding circumstances,” and to apply “common sense” to “look beyond the

‘simple recitation of the words used’” by Defendants to conclude that Plaintiff

has made sufficient factual allegations of specific acts by Defendant Rynn, and

ratified by the remaining Defendants, and which constituted a hostile work




                                      -24-




   Case 1:22-cv-00101-LCB-JEP    Document 9    Filed 05/09/22   Page 24 of 33
environment for Plaintiff based on her race, national origin, sex, and age. See

Bockman v. T & B Concepts of Carrboro, LLC, No. 1:19CV622, 2020 WL

5821169, at *17 (M.D.N.C. Sept. 30, 2020) (quoting Oncale v. Sundowner

Offshore Servs., Inc., 523 U.S. 75, 82 (1998))(holding words need not explicitly

or implicitly invoke protected categories to allow an inference of intentional

discrimination based on protected categories).

      C. Defendants Klotman and Rynn were personally involved in the
         purposeful, discriminatory adverse actions taken against Plaintiff.

      Defendants’ third argument that Defendants Klotman and Rynn have no

individual liability under Section 1981 fails because because they were

“personally involved in purposeful, discriminatory actions.” Benjamin v.

Sparks, 173 F. Supp. 3d 272, 283 (E.D.N.C. 2016), aff'd, 986 F.3d 332 (4th Cir.

2021)(holding “[p]ersonal liability under section 1981 must be predicated on

the actor's personal involvement.”) Plaintiff has alleged that not only did

Defendant Rynn have the authority to take the adverse actions against her,

DE1 ¶143; DE9-6, but that when Plaintiff sought to appeal to Defendant

Klotman,   she   refused   to   reverse      them    even    though    her   original

recommendations had been much less harsh, DE1 ¶¶135, 140, 148-49. These

factual allegations of personal involvement by Defendants Rynn and Klotman


                                      -25-




   Case 1:22-cv-00101-LCB-JEP    Document 9         Filed 05/09/22   Page 25 of 33
are sufficient to survive Plaintiff's motion to dismiss them as defendants under

Plaintiff’s Section 1981 claim.

      II.      Plaintiff’s allegations of retaliation under Title VII, the
               ADEA, and 42 U.S.C. § 1981 are also sufficient to withstand
               Defendants’ motion to dismiss.

      Plaintiff involved the faculty ombudsman to address her perception that

Defendant Rynn was actively hostile towards her as early as February 2019,

when Rynn refused to allow Plaintiff to travel to China, but prior to Defendant

Rynn making good on her threats to terminate Plaintiff’s NIH grant. DE1 ¶¶

94-99.      The subsequent termination of Plaintiff’s grant demonstrates

retaliation.

      In addition, Plaintiff’s counsel notified Defendants of her claims by letter

dated November 12, 2020. P’s Resp to MTD Exh 7 (DE9-7). Plaintiff filed her

charges of discrimination in November 30, 2020 which put all Defendants on

notice of her allegations. P’s Resp to MTD Exh 7 (DE9-7). Undeterred, on

December 18, 2020, even though Plaintiff had provided a detailed explanation

of why the study did not contain errors DE9-2; DE9-4, Defendants continued

their assault on Plaintiff’s professional reputation by writing to JAMA, seeking

retraction of the article published relating to the REMIT study. P’s Resp to




                                       -26-




   Case 1:22-cv-00101-LCB-JEP     Document 9    Filed 05/09/22   Page 26 of 33
MTD Exh 9 (DE9-9). On January 21, 2021, Chris O’Connor, speaking on behalf

of all of the co-investigators on the REMIT study, also notified JAMA that the

letter from Scott Compton (DE9-9) written with the knowledge and consent of

Defendants was “troubling in many regards.” P’s Resp to MTD Exh 10 (DE9-

10). Thus, Plaintiff has alleged sufficient facts showing that she engaged in

protected activity at the very least beginning in February 2019 when she

involved the faculty ombudsman who witnessed the hostile treatment of

Plaintiff and continuing through the filing of her EEOC charge after which

Defendants continued to take adverse actions against Plaintiff. Defendants’

statement that “[t]he Complaint fails to allege that Dr. Jiang engaged in any

protected activity” is without merit.

        Defendants then posit that even if the Complaint alleged protected

activity, Plaintiff has failed to connect the adverse actions to her protected

activity. In fact, connection can be inferred from temporal proximity. 6 Causey

v. Balog, 162 F.3d 795, 803 (4th Cir. 1998); Woods v. Salem Elec. Co., No.

1:15CV525, 2017 WL 74271, at *7 (M.D.N.C. Jan. 6, 2017) (finding prima facie


6
 Although to be clear, whether Defendants were simply engaging in additional discrimination
against Plaintiff because of her race, national origin, sex and age, or if they were retaliating against
her and upping the ante by taking their discriminatory actions towards Plaintiff outside of the
institution is unclear.


                                                  -27-




    Case 1:22-cv-00101-LCB-JEP              Document 9         Filed 05/09/22       Page 27 of 33
case of retaliation where plaintiff filed EEOC charge and was terminated one

month later). Plaintiff, through counsel, at the very latest put Defendants on

notice of Plaintiff’s belief that Defendants were discriminating against her on

November 12, 2020, and then on November 20, 2020, when she filed her charge

of discrimination. Nevertheless on December 18, 2020, Defendants wrote the

editor of JAMA calling into question the legitimacy of the article regarding the

REMIT study.

      III.   Plaintiff’s claim for conspiracy should not be dismissed if
             Plaintiff can amend her claim to state a viable claim under
             42 U.S.C. § 1985 and § 1986.

      Defendants make several arguments that Plaintiff’s section 1985(3)

claim fails as a matter of law. One of these arguments is the intracorporate

immunity doctrine.     But Plaintiff’s allegations that Defendants Rynn and

Klotman conspired against her is not defeated by this doctrine.

      “The law is well settled that to establish a cause of action for conspiracy

to deny civil rights under § 1985(3) a plaintiff must prove: (1) a conspiracy of

two or more persons, (2) who are motivated by a specific class-based,

invidiously discriminatory animus to (3) deprive the plaintiff of the equal

enjoyment of rights secured by the law to all, (4) and which results in injury to




                                      -28-




   Case 1:22-cv-00101-LCB-JEP     Document 9    Filed 05/09/22   Page 28 of 33
the plaintiff as (5) a consequence of an overt act committed by the defendants

in connection with the conspiracy. McHam v. N. Carolina Mut. Life Ins. Co.,

No. 105CV01168, 2007 WL 1695914, at *4 (M.D.N.C. June 11, 2007), aff'd, 250

F. App'x 545 (4th Cir. 2007) (citing Simmons v. Poe, 47 F.3d 1370, 1376 (4th

Cir.1995)).

      Plaintiff’s allegations in her complaint show that these elements were

met over a two-year period, when Defendant Rynn and multiple individuals,

including those she supervised and those with whom she had influence, by

overt acts, i.e, instigating and continuing the unusual scrutiny of the long-

concluded REMIT study, with the outcome of discrediting Plaintiff’s skills and

expertise and ending Plaintiff’s research career, because she was not White,

male or young. The fact that these efforts were largely hidden until January

2021 when they were revealed to and described by Plaintiff’s co-investigators

as “troubling” also shows that a conspiracy existed and was perceived by

others.

      The standard for a section 1985 claim to survive past summary judgment

is steep in this Circuit. See Simmons v. Poe, 47 F.3d 1370, 1377 (4th Cir. 1995)

(“This Court, under that standard, has rarely, if ever, found that a plaintiff has




                                       -29-




   Case 1:22-cv-00101-LCB-JEP     Document 9     Filed 05/09/22   Page 29 of 33
set forth sufficient facts to establish a section 1985 conspiracy, such that the

claim can withstand a summary judgment motion.”) But Plaintiff is at least

entitled to have her claim withstand a motion to dismiss given the facts alleged

which show the efforts by Defendant Rynn and others to join together in their

acts to discriminate against Plaintiff.

      To the extent the Court finds the conspiracy pleadings inadequate, they

can be cured by amendment to allege that Defendant Rynn conspired with

specific individuals in violation of section 1985 and that Defendant Klotman,

even if she was not a primary conspirator in the efforts to discredit Plaintiff

using the REMIT study audits, at least violated section 1986 because she had

the power to prevent the conspirators from acting but failed to do so. Id. at *5

(“Section 1986 imposes liability on those who know of conspiracies as described

in section 1985 and who have the power to prevent the conspirators from acting

but who fail to do so.”) Plaintiff has alleged or can amend her Complaint to

allege that the audits were not “independent, parallel actions that were taken

by multiple individuals in connection with the investigation” as argued by

Defendants. Likewise, Plaintiff can amend her complaint to delete the

conspiracy claims against Defendants Duke and DUHS.




                                          -30-




   Case 1:22-cv-00101-LCB-JEP     Document 9     Filed 05/09/22   Page 30 of 33
                                CONCLUSION

     For the reasons set forth above, Defendants’ Motion to Dismiss should

be denied.

     Respectfully submitted, this the 9th day of May 2022.


                                   /S/ VALERIE BATEMAN
                                    NC State Bar: 13417
                                    T: 919-810-3139
                                    NEW SOUTH LAW FIRM
                                    209 Lloyd St., Ste 350
                                    Carrboro, NC 27510
                                    valerie@newsouthlawfirm

                                   /S/ JUNE ALLISON
                                   NC State Bar: 9673
                                   T: 704-277-0113
                                   NEW SOUTH LAW FIRM
                                   233 Laurel Avenue
                                   Charlotte, NC 28207
                                   June@newsouthlawfirm

                                   Attorneys for Plaintiff




                                    -31-




   Case 1:22-cv-00101-LCB-JEP    Document 9   Filed 05/09/22   Page 31 of 33
                        CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing RESPONSE TO

DEFENDANTS’ MOTION TO DISMISS using the CM/ECF filing system

which will automatically send email notification of such filing to the all counsel

of record.

      This the 9th day of May 2022.

                                      /S/ VALERIE L. BATEMAN
                                      Valerie L. Bateman
                                      NEW SOUTH LAW FIRM




                                       -32-




   Case 1:22-cv-00101-LCB-JEP     Document 9     Filed 05/09/22   Page 32 of 33
     CERTIFICATE OF WORD COUNT PURSUANT TO LR 7.3

      The undersigned hereby certifies that the foregoing Memorandum in

Support of Defendants’ the Motion to Dismiss Pursuant to Rule 12(b)(6)

consists of less than 6,250 words, exclusive of the caption, signature lines,

certificate of service, and the certificate of word count, and thus complies

with Local Rule 7.3(d).

      This the 9th day of May 2022.

                                  /S/ VALERIE L. BATEMAN
                                  Valerie L. Bateman
                                  NEW SOUTH LAW FIRM




                                    -33-




 Case 1:22-cv-00101-LCB-JEP    Document 9    Filed 05/09/22   Page 33 of 33
